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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA

 UNITED STATES OF AMERICA,

                Plaintiff,
                                                            4:19-cr-00172-RGE-HCA-1
 vs.

 JESSICA RAE REZNICEK,

                Defendant.


       REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

        The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The Defendant entered

a plea of guilty to Count 1 of the Indictment. After cautioning and examining the Defendant under

oath concerning each of the subjects mentioned in Rule 11, I determined that the guilty plea was

knowing and voluntary as to each count, and that the offense charged is supported by an

independent factual basis concerning each of the essential elements of such offense. Defendant

understands and agrees to be bound by the terms of the plea agreement. I, therefore, recommend

that the plea of guilty be accepted, that a pre-sentence investigation and report be prepared, and

that the Defendant be adjudged guilty and have sentence imposed accordingly.


Date: January 6, 2021                            ______________________________________
                                                 HELEN C. ADAMS
                                                 CHIEF U.S. MAGISTRATE JUDGE


                                            NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).
